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United States Bankruptcy Court
Northem District of Florida
Gainesville Division
In re: Alonzo Perkins, Case No.: 15-10304-KKS
Lavurnia Perkins, Chapter 13
Debtors.
/

 

SECOND AMENDED CHAPTER 13 PLAN

l. Payments to the 'I`rustee: The future earnings or other future income of the Debtors is
submitted to the supervision and control of the trustee The Debtor (or the Debtors’ employers)
shall pay to the trustee the sum of $l 550.00 per month for the first lmonths; $1,610.00 per
months for months 8 and 9; and $1,810.00 per month for the remaining §_L months. The Debtor
shall pay to the Trustee the tax refunds for 5 years.

 

Total of Plan payments: $106,380.00
2. Plan Leogth: The term of the plan is for 60 months.

3. Allowed claims against the Debtor shall be paid in accordance With the provisions of the
Bankruptcy Code and this Plan.

a. Secured creditors shall retain their mortgage, lien or security interest in collateral until
the earlier of (a) the payment of the underlying debt determined under non-bankruptcy
law, or (b) discharge under ll U.S.C- § 1328.

b. Creditors Who have co-signers, co-makers, or guarantors (“Co-Obligors”) from whom
they are enjoined from collection under ll U.S.C. § 1301, and Which are separately
classified and shall tile their claims, including all of the contractual interest Which is due
or Will become due during the consummation of the Plan, and payment of the amount

specified in the proof of claim to the creditor shall constitute hill payment of the debt as
to the Debtor.

c. All priority creditors under 11 U.S.C. § 507 shall be paid in full in deferred cash
payments

4. Frorn the payments received under the plan, the trustee shall make disbursements as follows:
a. A¢_:`_lministrative Exnenses / Prioritv Clail_n§
(l) Trustee’s Fees: As determined by the Attorney General of the United States.

(2) Filing Fee (unpaid portion): $0.00

 

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(3) Priority Claims under 11 U.S.C. § 507 _ Domestic Support Obligations

(a) Debtor is required to pay all post-petition domestic support obligations
directly to the holder of the claim_

(b) The name(s) of the holder of any domestic support obligation are as follows
(11 U.S.C. §§101(14A) and 1302(b)(6)):

N.A.

(c) Anticipated Domestic Support Obligation Arrearage Claims. Unless otherwise
specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be paid in
full pursuant to ll U.S.C. § 1322(a)(2).

Creditor (Name) Estimated Arrearage Claim
N/A

(4) Attorneys Fee (unpaid portion): $3 200.00.

 

Pursuant to Standing Order of this Court, the Debtor’s attorney may seek additional fees
for the applicable amount as stated in the Order upon the filing of the required annual
statement each year. If the Plan is modified due to an increase in income shown on the
annual statement, the Debtor’s attorney may seek additional fees for the applicable
amount as stated in the Order. In either of these events, no further notice will be given to
creditors

(5) Other Priority Claims

Name Amount of Claim Interest Rate
N/A

b. Secured Claims
(l) Secured Debts Which Will Not Extend Beyond the Length of the Plan

(a) Secured Claims Subject to Valuation Under ll U.S.C. §506. Each of the
following secured claims shall be paid through the plan as set forth below, until
the secured value or the amount of the claim, whichever is less, has been paid in
full. Any remaining portion of the allowed claim shall be treated as a general
unsecured claim_

Proposed Total
Name Amount of A]lowed Interest Rate
Secured Claim (If specified)

N/A

 

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(b) Secured Claims Not Subject to Valuation Under ll U.S`C. §506. Each of the
following claims shall be paid through the plan as set forth below until the amount of the
claim as set forth below has been paid in full.

Amount of Interest Rate
Name Secured Claim (If specified)
Bank of America (Claim 16 post petition fees) $900.00 0.00

 

(2) Secured Debts Which Will Extend Beyond the Length of the Plan

Amount of Monthly Interest Rate

Name Claim Payment (If specified)
N/A

c. Unsecured Claims

General Nonpriority Unsecured: Unsecured debts shall be paid approximately 43 cents on
the dollar and paid pro rata.

5. The Debtor proposes to cure defaults to the following creditors by means of monthly payments
by the trustee:

 

 

Amount of Default Interest Rate
Creditor to be Cured (If specified)
Bank of America (Claim 14) $460.90 2.74%
Bank ofAmerica (Claim 15) $772.34 5.87%
Bank of America (Claim 16) $1,295.63 4.25%

 

6. The Debtor shall make regular payments directly to the following creditors:
Amount of Monthly Interest Rate

 

 

 

Name Claim Payment (If specified)
Bank of America $ l 8&379.00 $959.77
Bank of America $224.986.00 $569.00
Renasant Bank $98,089.00 $970.00
Banl< of America $79»547.00 $762.77

 

7. The following executory contracts of the debtor are rej ected:

Other Party Description of Contract or Lease
N/A

8. Property to Be Surrendered to Secured Creditor for which the creditor shall be entitled to file a
deficiency claim:
Amount of Description of
Name Claim Property
N/A

 

 

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9. Title to the Debtor’s property shall revest in Debtor on confirmation of a plan unless otherwise
provided in paragraph ll.

10. As used herein, the term “Debtor” shall include both debtors in ajoint case.

ll. Non-Standard Provisions (all non-standard provisions must be inserted in this paragraph).

12. Other Provisions:
Unsecured claims shall be paid interest to the extent availablc, if any, not to exceed 6%.
The provisions of paragraph 3 are not intended to modify the rights of the holders of any
mortgages on any real property owned by the Debtor. The terms of all notes and
mortgages on Debtor’s real property shall remain in full force and effect.
PAYMEN'I` OF THE FOREGOING ARREARAGES UNI)ER THIS PLAN SHALL
CONCLUSIVELY CONSTITUTE PAYMENT OF ALL PRE-PETITION
ARREARAGES.

Pursuant to ll U.S.C. §521(§(4)(]3) and Standing Order of this Court, the required
annual statement as described shall be filed.

The automatic stay terminates upon entry of the order confirming the plan as to the

in rem rights of creditors whose secured claims are being paid directly by the
Debtor under paragraph six of this Plan.

Date ?€/; /é

 

`Eavunna Perkins, Debtor

Date Z////; 115 Signature /P:X/y¢/}%z%__\
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